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 4
                          UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF WASHINGTON
 6
       UNITED STATES OF AMERICA,               )
 7                                             )     No. 2:13-CR-014-RMP-3
 8                  Plaintiff,                 )
                                               )     ORDER MODIFYING
 9                  v.                         )     PRE-TRIAL RELEASE
10                                             )     CONDITIONS
       TAMARA OLSON,                           )
11                                             )
12                  Defendant.                 )
13

14           BEFORE THE COURT is Defendant’s Unopposed Motion to Transfer
15     Pretrial Supervision. ECF No. 369. Neither the United States Probation Office, nor
16     Assistant United States Attorney Christopher E. Parisi object to the motion. ECF
17     No. 369 at 2. Good cause appearing therefor,
18           IT IS ORDERED:
19           1.   Defendant’s Motion to Transfer Pretrial Supervision, ECF No. 369, is
20     GRANTED.
21           2.   Defendant Tamara Olson is permitted to reside in Fallbrook, California,
22     in order to accept full-time employment. Therefore, Pretrial Supervision shall be
23     transferred from the Eastern District of Washington to the Southern District of
24     California. Ms. Olson is required to comply with the directions of the United States
25     Probation Office in the Southern District of California and shall appear at every
26     Court date scheduled in the above-entitled matter.


      ORDER MODIFYING PRE-TRIAL RELEASE CONDITIONS - 1
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 1           All other terms and conditions of her release will remain in full
 2     force and effect.
 3           DATED August 26, 2014.
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 5                                _____________________________________
                                            JOHN T. RODGERS
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                                   UNITED STATES MAGISTRATE JUDGE
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      ORDER MODIFYING PRE-TRIAL RELEASE CONDITIONS - 2
